     Case 4:23-cv-04155-YGR        Document 427-5       Filed 11/06/24    Page 1 of 3




                                                                             Central Office
                                                                         320 First St., NW
                                                                    Washington, DC 20534

June 28, 2024

John Bellhouse #76806-509
FCI Oakdale I
PO Box 5000
Oakdale, LA 71463

Dear John Bellhouse:

The Federal Bureau of Prisons (BOP) received your Freedom of Information Act/Privacy
Act (FOIA/PA) request. Your request has been assigned a number and forwarded to the
processing office noted below. Please make a note of the request number and
processing office as you will need to include it in any correspondence or inquiry
regarding your request. A copy of your request is attached to help you keep track of
your request more easily.

FOIA/PA Request Number:            2024-04299
Processing Office:                 CO

The time needed to complete our processing of your request depends on the complexity
of our records search and the volume and complexity of any records located. Each
request is assigned to one of three tracks: simple, complex, or expedited. Due to the
large number of FOIA/PA requests received by BOP and the limited resources available
to process such requests, BOP handles each request on a first-in, first-out basis in
relation to other requests in the same track. We assigned your request to the complex
track and placed it in chronological order according to the date of receipt.

We determined unusual circumstances exist as the documents responsive to your
request must be searched for and collected from a field office and will require significant
time to review. Because of these unusual circumstances, we extended the time limit to
respond to your request for the ten additional days provided by the statute. Processing
complex requests may take up to nine months. In accordance with 28 C.F.R. § 16.5(b)
and (c), you may narrow or modify your request in an effort to reduce the processing
time.
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Pursuant to 28 C.F.R. § 16.10, in certain circumstances we are required to charge fees
for time spent searching for or duplicating responsive documents. If we anticipate your
fees will be in excess of $25.00 or the amount you have indicated you are willing to pay,
we will notify you of the estimated amount. At that time, you will have the option to
reformulate your request to reduce the fees. If you requested a fee waiver, we will
decide whether to grant your request after we determine whether fees will be assessed
for this request.

If you have any questions or wish to discuss reformulation or an alternative time frame
for the processing of your request, please feel free to contact the Central Office or the
BOP’s FOIA Public Liaison, Ms. Kara Christenson, at: (202) 616-7750 (phone) or 320
First Street NW, Room 924, Washington, DC 20534.

Additionally, you may contact the Office of Government Information Services (OGIS) at
the National Archives and Records Administration to inquire about the FOIA mediation
services they offer. The contact information for OGIS is: Office of Government
Information Services, National Archives and Records Administration, 8601 Adelphi
Road (OGIS), College Park, MD 20740; ogis@nara.gov; (202) 741-5770 (phone);
(877) 684-6448 (toll free); or (202) 741-5769 (fax).

Sincerely,


S. Arellano, for
Eugene E. Baime, Supervisory Attorney
                   Case 4:23-cv-04155-YGR                                               Document 427-5                                          Filed 11/06/24                                    Page 3 of 3
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                                      Kind        Regards,                                                             Po. Box S006
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